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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,
                                                                    4:14CR3051
       vs.
                                                                      ORDER
BILLY J. SCHRADER,

                      Defendant.


       This matter is before the Court on plaintiff’s Motion for Dismissal of Counts II through VI

(Filing No. 107) of the indictment against defendant Billy J. Schrader. The Court finds the motion

should be granted. Accordingly,

       IT IS ORDERED that the motion for dismissal of Counts II through VI of the Indictment is

granted and Counts II through VI are dismissed without prejudice.

       Dated this 8th day of April, 2015.


                                                    BY THE COURT:

                                                    s/ Richard G. Kopf
                                                    Senior United States District Judge
